   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-410 (Rev. 09/15)                                                                                         Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WSPF-2016-21695
                                         * * * ICRS CONFIDENTIAL * * *

        To: LOCKETT, JEREMY B. - #511912
            UNIT: _CR2 -- _225_L
            WISCONSIN SECURE PROGRAM FACILITY
            BOSCOBEL, WI



        Complaint Information:
           Date Complaint Acknowledged:     10/06/2016
           Date Complaint Received:         10/06/2016
           Subject of Complaint:         4 - Medical

           Brief Summary:                Claims he is being denied his medication.

            This is to acknowledge the complaint you filed and which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 20 working days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 10 working days
            following receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: October 06, 2016                                  Page 1 of 1                      Institution Complaint Examiner's Office
                                                       ** ICRS CONFIDENTIAL **
                     Case 1:17-cv-00691-WCG Filed 06/15/18 Page 1 of 7 Exhibit 1001
                                                                        Document 35-2p. 001
   DEPARTMENT OF CORRECTIONS                                                                                               WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-402 (Rev. 09/15)                                                                                               Chapter DOC 310

                                                 ICE REJECTION
                                      COMPLAINT NUMBER WSPF-2016-21695
                                         * * * ICRS CONFIDENTIAL * * *


        To: LOCKETT, JEREMY B. - #511912
            UNIT: _CR2 -- _225_L
            WISCONSIN SECURE PROGRAM FACILITY
            BOSCOBEL, WI




        Complaint Information: REJECTED


          Date Complaint Acknowledged: 10/06/2016                                             Inmate Contacted? No

          Date Complaint Received:          10/06/2016

          Subject of Complaint:            4 - Medical

          Brief Summary:                   Claims he is being denied his medication.

          Rejection Comment:               The issue raised in this complaint has been addressed through the inmate's
                                           prior use of the ICRS (DOC 310.11(5)(g), Wis. Adm. Code). WSPF-2016-21590
          Rejection Code:                  Previously addressed
          Decision Date:                  10/26/2016




                                           E. Ray - Institution Complaint Examiner
          Per DOC 310.11(6), you may appeal the rejection of this complaint within 10 calendar days to the appropriate
          reviewing authority. The reviewing authority will only review the basis for the rejection of this complaint, not the
          merits of the complaint.

          If you wish to appeal, complete form DOC 2182 Request for Review of Rejected Complaint and send to:

                        INSTITUTION COMPLAINT EXAMINER
                        WISCONSIN SECURE PROGRAM FACILITY
                        1101 MORRISON DRIVE
                        P.O. BOX 1000
                        BOSCOBEL, WI 53805-1000

          The reviewing authority's decision is final pursuant to s. DOC 310.11(6), Wis. Adm. Code.




Print Date: October 26, 2016                                    Page 1 of 1                          Institution Complaint Examiner's Office
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                                                                         Document 35-2p. 002
                                                                                                   GENERAL REPORT
                                                                                                    WSPF-2016-21695
                                                 State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        October 06, 2016
              Date Complaint Received:         October 06, 2016
              Subject of Complaint:          4 - Medical

              Brief Summary:                 Claims he is being denied his medication.

        ICE Rejection Information:      (Signed on 10/26/16 8:17:13AM):
              ICE's Summary of Facts:        The issue raised in this complaint has been addressed through the inmate's
                                             prior use of the ICRS (DOC 310.11(5)(g), Wis. Adm. Code). WSPF-2016-
                                             21590

              ICE's Recommendation:          Rejected - Previously addressed
              ICE's Recommendation Date: October 26, 2016




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                                                                        Document 35-2p. 003
                                                                     State of Wisconsin
                                                                      Department of Corrections

                                                               DISTRIBUTION ITEMS
                                                      for COMPLAINT NUMBER WSPF-2016-21695
        Item                          Create Date             Created By          Sent To            Inmate ID          Print Date              Printed By
ICE Receipt                    10/06/2016 8:37:40AM    Jessica Kramer            WSPF                  511912    10/06/2016 10:08:19AM   Jessica Kramer
ICE Rejection                  10/26/2016 8:17:13AM    Ellen Ray                 WSPF                  511912    10/26/2016 10:05:49AM   Jessica Kramer




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                                                                           ** ICRS CONFIDENTIAL **
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                                                   Document 35-2p. 005
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                                                   Document 35-2p. 006
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                                                   Document 35-2p. 007
